  Case 3:15-cr-00307-M Document 848 Filed 10/30/20                  Page 1 of 4 PageID 3178



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 UNITED STATES OF AMERICA

 v.                                                   Case No. 3:15-CR -00307-M

 NICOLE LEEDY (13)

              GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION
                 TO CORRECT CLERICAL ERROR PURSUANT TO
                FEDERAL RULE CRIMINAL PROCEDURE RULE 36

           Nicole Leedy argues that she did not receive credit for all the time that she served

in custody from her initial arrest in 2015 until her sentencing hearing on July 15, 2016.

(dkt 841, pg 1) In particular, she states that “because the case number 2008-CR-11402

was not listed on the judgment they (the Bureau of Prisons) can not credit defendant for

that time.” She claims that she “remembers clearly the oral pronouncement at sentencing

was to include time spent in custody to run concurrent with the above listed case.” (dkt

841, pg 1)

      I.      Factual Background

           On July 8, 2015, an indictment was filed charging Leedy and others with a drug

conspiracy for conduct which occurred from on or about January 2014 until the date of

the indictment. (dkt 1) On March 8, 2016, Leedy pled guilty to Count One of the

indictment. On July 15, 2016, Leedy was sentenced to 188 months imprisonment, three

years supervised release, and a $100 Mandatory Special Assessment on Count One of the

indictment. On August 12, 2016, the judgment was filed reflecting that the sentence. (dkt

523) The Judge also included in the judgment that Leedy’s sentence was to run


Government’s Response to Motion to Correct Clerical Error– Page 1
  Case 3:15-cr-00307-M Document 848 Filed 10/30/20                  Page 2 of 4 PageID 3179



concurrently with her related undischarged terms of imprisonment in case numbers 2015-

CR-8834 and 2015-CR-8835. (dkt 523, pg 2)

   II.      Argument

         Federal Rule 36 states: “After giving any notice it considers appropriate, the court

may at any time correct a clerical error in a judgment, order, or other part of the record,

or correct an error in the record arising from oversight or omission.”

         The government submits there is no error to correct because there was no error

arising from oversight or omission. The Judge specifically included in the judgment that

Leedy’s sentence was to run concurrently with her related undischarged terms of

imprisonment in case numbers 2015-CR-8834 and 2015-CR-8835. [emphasis added].

The case (2008-CR-11402) which Leedy seeks to add to the judgment is an unrelated

case which occurred in 2008, which occurred years before the conduct alleged in her

federal case. (dkt 382, ¶38) Leedy was sentenced to 15 years in prison in 2009 for that

case and was paroled on November 8, 2012. The sentence is set to expire in 2023. (dkt

382, ¶38) Thus, she was on parole for that offense when she committed the instant federal

offense. This is document well documented in the PSR (dkt 382, ¶ 42)

         Also, United States Sentencing Guidelines section 5G1.3(a) states, “If the instant

offense was committed while the defendant was serving a term of imprisonment

(including work release, furlough, or escape status) or after sentencing for, but before

commencing service of, such term of imprisonment, the sentence for the instant offense

shall be imposed to run consecutively to the undischarged term of imprisonment.”

[emphasis added]


Government’s Response to Motion to Correct Clerical Error– Page 2
  Case 3:15-cr-00307-M Document 848 Filed 10/30/20                  Page 3 of 4 PageID 3180



       Since case number 2008-CR-11402 is unrelated and the defendant was on parole

for that offense when she committed the instant offense, the government is opposed to

running the unrelated sentence concurrent with her federal case. The Government further

submits that there is no evidence that the Judge indicated that case number 2008-CR-

11402 should run concurrently with her federal case. Instead, the Judge specifically

stated on the record that case numbers 2015-CR-8834 and 2015-CR-8835 were to run

concurrently with her federal case as they were related conduct.

   III.    CONCLUSION

       For the reasons stated above, the Government requests that the Court deny the

defendant’s Motion to Correct Clerical Error.

                                                       Respectfully submitted,

                                                       ERIN NEALY COX
                                                       United States Attorney

                                                       /s/ Phelesa M. Guy
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Government’s Response to Motion to Correct Clerical Error– Page 3
  Case 3:15-cr-00307-M Document 848 Filed 10/30/20                  Page 4 of 4 PageID 3181



                                    CERTIFICATE OF SERVICE

       I hereby certify that on October 30, 2020, I electronically filed the foregoing
document with the Clerk of Court for the United States District Court, Northern District of
Texas, using the electronic case filing system of the Court. I also mailed a paper copy to:

       Nicole Leedy
       Reg. No 49891-177
       SPC Aliceville
       P.O. Box 487
       Aliceville, AL 35442


                                                       /s/ Phelesa M. Guy
                                                       PHELESA M. GUY
                                                       Assistant United States Attorney




Government’s Response to Motion to Correct Clerical Error– Page 4
